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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    )
                                             )
                v.                           )       Case No.: 1:18-cr-218 (TSC)
                                             )
MARIIA BUTINA, a/k/a                         )
MARIA BUTINA,                                )
                                             )
       Defendant.                            )
                                             )

                          DEFENDANT MARIA BUTINA’S
              RESPONSE TO THE COURT’S APRIL 22, 2019 MINUTE ORDER

       Defendant Maria Butina, by counsel, submits this response to the court’s Minute Order of

April 22, 2019, stating the following:

       The government’s last-minute shift in theory has unfortunately left the defense in a position

where there is no pragmatic adjournment that can work in the context of this case. The Anderson

declaration raises a wholly new theory of espionage activity that was never charged, never cleared

by a grand jury, never disclosed, and never even raised directly with Maria during her 50-plus

hours of interviews. Permitting the government to proceed on this basis would effectively

transform Maria’s sentencing hearing into a separate trial on unreliable claims with lower burdens

of proof.

       It would take months to secure and ready her own intelligence expert to offer meaningful

rebuttal to the government’s newborn thesis, just as it took months for the defense to force the

withdrawal of the government’s old ones. The defense would require additional discovery from

the government, and the tremendous time and costs for expert assistance would require the court’s

financial assistance because Maria, as the court now knows (see Doc. 95 at 20-21 re ¶ 62), is and

has always been indigent. See CJA Guidelines § 310.10.10(a) (“Investigative, expert, or other



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services necessary to adequate representation . . . are available to persons who are eligible under

the CJA, including persons who have retained counsel but who are found by the court to be

financially unable to obtain the necessary services.”).

       The government has known the defense’s sentencing position and guidelines analysis well-

before the court’s acceptance of the plea agreement. Its prosecutors and federal agents have known

that Maria has longed to go home and that her counsel could not extend her incarceration, too.

Maria accepted responsibility and has done everything she could to right her wrong. And while

Maria knowingly entered her felony plea with full appreciation that her ultimate fate would rest in

this court’s hands, the government did induce it with aspirational promises of a cooperative

sentencing hearing that have not borne out.

       The undersigned acknowledges that this proceeding is an adversarial process, but the

government’s 18-month correctional demand based on this “spot and assess” operation theory is a

violation of trust that further bears no resemblance to Maria’s honest mistake. The 18-24 month

sentencing range is effectively an offense level 15 in the USSG Sentencing Table, and application

of this sentencing range would compare Maria’s offense, unfavorably, to           convictions for

involuntary manslaughter (see USSG § 2A1.4, having an offense level 12), aggravated assault (see

USSG § 2A2.2, having an offense level 14), and exporting arms or military equipment (see USSG

§ 2M5.2, having an offense level 14), among other more deplorable crimes. Worse, the

government’s “spot and assess” theory—belied by Maria’s many credible denials (hence the

government’s USSG § 5K1.1 submission) of any affiliation with foreign intelligence operations in

the United States—cannot be divorced from the context of the government’s prior proffered

theories of the initial bond hearing that were proven false.




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       Due process requires a defendant to have adequate notice of the evidence to be offered

against her. The court should not place on the defendant the burden of bringing forth evidence or

information at this point to rebut the inadequate, late-disclosed, and unreliable information in the

Anderson declaration. Moreover, to grant an incarcerated defendant on the verge of sentencing

and hopeful release an adjournment (that is, a delay of sentencing) while her counsel spends money

she does not have taking weeks or months (while she remains incarcerated) to rebut an inadequate

disclosure is no remedy at all. The defense could prevail on the merits, but Maria could serve most

or all of the sentence sought by the government because of the delayed caused by the government’s

own conduct—the definition of a Pyrrhic victory.

       The only proper remedy is exclusion. Should the Court disagree that the Anderson

declaration be excluded, the defense opposes any delay in sentencing and will address it on Friday

to the best of the defense’s ability under the circumstances, which are circumstances not of Maria’s

making.

       For all of these reasons, together with those in her motion (Doc. 102) and those that may

be presented at a hearing on this matter, Maria Butina respectfully requests that the court exclude

and strike the opinion and declaration of the government’s proposed expert Robert Anderson, Jr.

Dated: April 23, 2019                         Respectfully submitted,

                                                      /s/
                                              Robert N. Driscoll (DC Bar No. 486451)
                                              Alfred D. Carry (DC Bar No. 1011877)
                                              McGlinchey Stafford PLLC
                                              1275 Pennsylvania Avenue NW, Suite 420
                                              Washington, DC 20004
                                              Phone: (202) 802-9999
                                              Fax: (202) 403-3870
                                              rdriscoll@mcglinchey.com
                                              acarry@mcglinchey.com

                                              Counsel for Defendant

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